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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS



ANTHONY CAIRNS,                                      )
                                                     )
                              Plaintiff,             )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        FILE No.
126 BETHANY PLAZA LLC,                               )
                                                     )
                              Defendant.             )

                                           COMPLAINT

       COMES NOW, ANTHONY CAIRNS, by and through the undersigned counsel, and files

this, his Complaint against Defendant, 126 BETHANY PLAZA LLC, pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

126 BETHANY PLAZA LLC, failure to remove physical barriers to access and violations of

Title III of the ADA.

                                             PARTIES

       2.      Plaintiff ANTHONY CAIRNS (hereinafter “Plaintiff”) is and has been at all

times relevant to the instant matter, a natural person residing in Dallas, Texas (Denton County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in


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performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

        5.      Plaintiff uses a wheelchair for mobility purposes.

        6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”).

        7.      Defendant, 126 BETHANY PLAZA LLC (hereinafter “126 BETHANY PLAZA

LLC”) is a Texas limited liability company that transacts business in the State of Texas and

within this judicial district.

        8.      Defendant, 126 BETHANY PLAZA LLC, may be properly served with process

via its registered agent for service, to wit: William Kelly, Registered Agent, 4230 LBJ Freeway,

Suite 105, Dallas, TX 75244.

                                  FACTUAL ALLEGATIONS

        9.      On or about August 11, 2020, Plaintiff was a customer at “Fred’s Downtown

Philly,” a business located at 717 S. Greenville Avenue, Allen, TX 75002, referenced herein as

“Fred’s Downtown Philly”. See Receipt attached as Exhibit 1. See also photo of Plaintiff

attached as Exhibit 2.

        10.     Defendant, 126 BETHANY PLAZA LLC, is the owner or co-owner of the real



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property and improvements that Fred’s Downtown Philly is situated upon and that is the subject

of this action, referenced herein as the “Property.”

       11.     Defendant, 126 BETHANY PLAZA LLC, as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, 126 BETHANY PLAZA LLC, and a tenant

allocating responsibilities for ADA compliance within the unit the tenant operates, that lease is

only between the property owner and the tenant and does not abrogate the Defendant’s

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to Fred’s Downtown Philly and the Property, located at 717 S.

Greenville Avenue, Allen, TX           75002, Collin County Property Appraiser’s property

identification number 1741182 (“the Property”), and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or limited in the

future unless and until Defendant is compelled to remove the physical barriers to access and

correct the ADA violations that exist at the Property, including those set forth in this Complaint.

       13.     Plaintiff lives 16 miles from the Property.

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property are accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property are made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a



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return customer as well as for Advocacy Purposes, but does not intend to re-expose himself to

the ongoing barriers to access and engage in a futile gesture of visiting the public

accommodation known to Plaintiff to have numerous and continuing barriers to access.

       16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered barriers to access at the Property, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access

present at the Property.


                                       COUNT I
                           VIOLATIONS OF THE ADA AND ADAAG

       17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       18.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and



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       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of


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$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit his access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       28.     Defendant, 126 BETHANY PLAZA LLC, has discriminated against Plaintiff (and

others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, 126 BETHANY PLAZA LLC, will continue to discriminate against



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Plaintiff and others with disabilities unless and until Defendant, 126 BETHANY PLAZA LLC,

is compelled to remove all physical barriers that exist at the Property, including those

specifically set forth herein, and make the Property accessible to and usable by Plaintiff and

other persons with disabilities.

       30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     Near Unit 100, the accessible parking space and associated access aisle have a

               slope in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG

               standards and are not level. This violation would make it dangerous and difficult

               for Plaintiff to exit and enter their vehicle while parked at the Property.

       (ii)    Near Unit 100, the access aisle to the accessible parking space is not level due to

               the presence of an accessible ramp in the access aisle in violation of Section 502.4

               of the 2010 ADAAG standards. This violation would make it dangerous and

               difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

       (iii)   Near Unit 100, the accessible curb ramp is improperly protruding into the access

               aisle of the accessible parking space in violation of Section 406.5 of the 2010

               ADAAG Standards. This violation would make it difficult and dangerous for

               Plaintiff to exit/enter their vehicle.

       (iv)    Near Unit 100, the Property has an accessible ramp leading from the accessible

               parking space to the accessible entrances with a slope exceeding 1:12 in violation



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            of Section 405.2 of the 2010 ADAAG standards. This violation would make it

            dangerous and difficult for Plaintiff to access the units of the Property.

   (v)      Near Unit 100, the accessible ramp side flares have a slope in excess of 1:10 in

            violation of Section 406.3 of the 2010 ADAAG standards. This violation would

            make it dangerous and difficult for Plaintiff to access the units of the Property.

   (vi)     Near Unit 110, the access aisle to the accessible parking space is not level due to

            the presence of an accessible ramp in the access aisle in violation of Section 502.4

            of the 2010 ADAAG standards. This violation would make it dangerous and

            difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

   (vii)    Near Unit 110, the accessible curb ramp is improperly protruding into the access

            aisle of the accessible parking space in violation of Section 406.5 of the 2010

            ADAAG Standards. This violation would make it difficult and dangerous for

            Plaintiff to exit/enter their vehicle.

   (viii)   Near Unit 110, the accessible parking space is not level due to the presence of an

            accessible ramp in the accessible parking space in violation of Section 502.4 of

            the 2010 ADAAG standards. This violation would make it dangerous and difficult

            for Plaintiff to exit and enter their vehicle while parked at the Property.

   (ix)     Near Unit 110, the accessible curb ramp is improperly protruding into the

            accessible parking space in violation of Section 406.5 of the 2010 ADAAG

            Standards. This violation would make it difficult and dangerous for Plaintiff to

            exit/enter their vehicle.

   (x)      Near Unit 114, the access aisle to the accessible parking space is not level due to

            the presence of an accessible ramp in the access aisle in violation of Section 502.4



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            of the 2010 ADAAG standards. This violation would make it dangerous and

            difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

   (xi)     Near Unit 114, the accessible curb ramp is improperly protruding into the access

            aisle of the accessible parking space in violation of Section 406.5 of the 2010

            ADAAG Standards. This violation would make it difficult and dangerous for

            Plaintiff to exit/enter their vehicle.

   (xii)    Near Unit 114, the accessible parking space is not level due to the presence of an

            accessible ramp in the accessible parking space in violation of Section 502.4 of

            the 2010 ADAAG standards. This violation would make it dangerous and difficult

            for Plaintiff to exit and enter their vehicle while parked at the Property.

   (xiii)   Near Unit 114, the accessible curb ramp is improperly protruding into the

            accessible parking space in violation of Section 406.5 of the 2010 ADAAG

            Standards. This violation would make it difficult and dangerous for Plaintiff to

            exit/enter their vehicle.

   (xiv)    Near Unit 116, the access aisle to the accessible parking space is not level due to

            the presence of an accessible ramp in the access aisle in violation of Section 502.4

            of the 2010 ADAAG standards. This violation would make it dangerous and

            difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

   (xv)     Near Unit 116, the accessible curb ramp is improperly protruding into the access

            aisle of the accessible parking space in violation of Section 406.5 of the 2010

            ADAAG Standards. This violation would make it difficult and dangerous for

            Plaintiff to exit/enter their vehicle.




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    (xvi)   Near Unit 116, the accessible parking space is not level due to the presence of an

            accessible ramp in the accessible parking space in violation of Section 502.4 of

            the 2010 ADAAG standards. This violation would make it dangerous and difficult

            for Plaintiff to exit and enter their vehicle while parked at the Property.

    (xvii) Near Unit 116, the accessible curb ramp is improperly protruding into the

            accessible parking space in violation of Section 406.5 of the 2010 ADAAG

            Standards. This violation would make it difficult and dangerous for Plaintiff to

            exit/enter their vehicle.

    (xviii) Near Unit 134, the access aisle to the accessible parking space is not level due to

            the presence of an accessible ramp in the access aisle in violation of Section 502.4

            of the 2010 ADAAG standards. This violation would make it dangerous and

            difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

    (xix)   Near Unit 134, the accessible curb ramp is improperly protruding into the access

            aisle of the accessible parking space in violation of Section 406.5 of the 2010

            ADAAG Standards. This violation would make it difficult and dangerous for

            Plaintiff to exit/enter their vehicle.

    (xx)    Near Unit 134, the accessible parking space is not level due to the presence of an

            accessible ramp in the accessible parking space in violation of Section 502.4 of

            the 2010 ADAAG standards. This violation would make it dangerous and difficult

            for Plaintiff to exit and enter their vehicle while parked at the Property.

    (xxi)   Near Unit 134, the accessible curb ramp is improperly protruding into the

            accessible parking space in violation of Section 406.5 of the 2010 ADAAG




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               Standards. This violation would make it difficult and dangerous for Plaintiff to

               exit/enter their vehicle.

       (xxii) Near Unit 134, the accessible ramp side flares have a slope in excess of 1:10 in

               violation of Section 406.3 of the 2010 ADAAG standards. This violation would

               make it dangerous and difficult for Plaintiff to access the units of the Property.

       (xxiii) Near Unit 134, the accessible parking space is missing a proper identification sign

               in violation of Section 502.6 of the 2010 ADAAG standards. This violation would

               make it difficult for Plaintiff to locate an accessible parking space.

       (xxiv) The Property lacks an accessible route from the sidewalk to the accessible

               entrance in violation of Section 206.2.1 of the 2010 ADAAG standards. This

               violation would make it difficult for Plaintiff to access the units of the Property.

       (xxv) Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       31.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.     All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       35.     Upon information and good faith belief, the removal of the physical barriers and



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dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

        36.      Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, 126

BETHANY PLAZA LLC, has the financial resources to make the necessary modifications since

the Property is valued at $3,152,776.00 according to the Property Appraiser website.

        37.      The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

        38.      Upon information and good faith belief, the Property have been altered since

2010.

        39.      In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

        40.      Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

126 BETHANY PLAZA LLC, is required to remove the physical barriers, dangerous conditions

and ADA violations that exist at the Property, including those alleged herein.

        41.      Plaintiff’s requested relief serves the public interest.

        42.      The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, 126 BETHANY PLAZA LLC.

        43.      Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of



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litigation from Defendant, 126 BETHANY PLAZA LLC, pursuant to 42 U.S.C. §§ 12188 and

12205.

         44.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, 126

BETHANY PLAZA LLC, to modify the Property to the extent required by the ADA.

         WHEREFORE, Plaintiff prays as follows:

         (a)   That the Court find Defendant, 126 BETHANY PLAZA LLC, in violation of the

               ADA and ADAAG;

         (b)   That the Court issue a permanent injunction enjoining Defendant, 126

               BETHANY PLAZA LLC, from continuing their discriminatory practices;

         (c)   That the Court issue an Order requiring Defendant, 126 BETHANY PLAZA

               LLC, to (i) remove the physical barriers to access and (ii) alter the subject

               Property to make it readily accessible to and useable by individuals with

               disabilities to the extent required by the ADA;

         (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

               and costs; and




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    (e)   That the Court grant such further relief as deemed just and equitable in light of the

          circumstances.

                                        Dated: September 18, 2020.

                                        Respectfully submitted,

                                        Law Offices of
                                        THE SCHAPIRO LAW GROUP, P.L.

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